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-v. 2:04cR20003-01-Ml `* "' ""”‘EMPH’S

TONY PH|LL|PS
Lee Gera|d CJA
Defense Attorney
8 South Third Street, 4th F|oor
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 2 and 3 of the indictment on l\/larch 3, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section Msofo_ffens_e Offense Nu_mbLlsl
Conc|uded

21 U.S.C. § 846 Conspiracy to Possess With intent to 02/19/2003 1

Distribute in Excess of 50 Grams of

Cocaine Base
21 U.S.C. § 841(3)(1) Aiding and Abetting the Possession 01/21/2003 2
and 18 U.S.C. § 2 With intent to Distribute in Excess of 50

Grams of Cocaine Base
21 U.S.C. § 841(a)(1) Aiding and Abetting the Possession 02/19/2003 3
and 18 U.S.C. § 2 With intent to Distribute in Excess of 50

Grams of Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentenoe:
Defendant’s Date of Birth: 09/05/1973 June 3, 2005
Deft’s U.S. l\/larshal No.: 20467-074

Defendant’s lVlailing Address:

_1 ' n

Stanton, TN 38069 With mile 55 andl

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ON PH|PPS IV|CCALLA
U ED ATES DlSTRlCT JUDGE

June w , 2005

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|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of: 121 Months (or 10 Years and 1 l\/lonth) as to
Count1; 121 Months (or 10 ¥ears and 1 lVionth) as to Count 2; 121 Months (or 10 Years

and 1 i\/lonth) as to Count 3. Counts 1, 2 and 3 are to be served concurrently with each
other for a total term of incarceration of 121 Months (or 10 Years and 1 Month).

The defendant is remanded to the custody of the United States lVlarshai_

RETU RN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES |ViARSHAL
By:

 

Deputy U.S. Marshai

Case 2:04-cr-20003-.]Pl\/| Document 94 Filed O6/O6/O5 Page 4 of 6 PagelD 158

Case No: 2:04CR20003-01-Ml Defendant Name: Tony PH|LL|PS Page 4 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 Years as to Count 1; 5 Years as to Count 2; 5 ¥ears as to Count 3. Each
count is to be supervised concurrently with each other for a total term of supervision
of 5 Years.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and

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Case No: 2:04CR20003~01-N|l Defendant Name: Tony PH|LLIPS Page 5 of 5
shall permit confiscation of any contraband observed in plain view by the probation officer;

10_ The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Office.

2. The defendant shall cooperate with DNA collections as directed by the Probation Office.

3, The defendant shall seek and maintain full-time employment

4 The defendant shall submit to mental health testing and treatment programs as directed by
the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Scheduie of Payments. The defendant shall pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Scheduie of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Tota| Assessment Tota| Fine Tota| Restitution
$300.00

The Speciai Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:04-CR-20003 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Fioor

i\/lemphis7 TN 38103

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOi\/[FIELD, P.C.
50 N. Front St.

Ste. 800

i\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCaila
US DISTRICT COURT

